Case 3:13-cv-02175-G-BH Document 249 Filed 08/27/15           Page 1 of 2 PageID 3727


                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION




IMPALA AFRICAN SAFARIS, LLC,                )
ET AL.,                                     )
                                            )
             Plaintiffs,                    )             CIVIL ACTION NO.
                                            )
VS.                                         )             3:13-CV-2175-G (BH)
                                            )
DALLAS SAFARI CLUB, INC., ET AL.,           )
                                            )
             Defendants.                    )




         ORDER ACCEPTING FINDINGS AND RECOMMENDATION
             OF THE UNITED STATES MAGISTRATE JUDGE


      After reviewing all relevant matters of record in this case, including the

findings, conclusions, and recommendation of the United States Magistrate Judge

and any objections thereto, in accordance with 28 U.S.C. § 636(b)(1), the

undersigned district judge is of the opinion that the findings and conclusions of the

magistrate judge are correct and they are accepted as the findings and conclusions of

the court.

      Plaintiffs’ motion for default judgment, filed December 30, 2014 (docket entry

242), is DENIED. By separate judgment, the claims against Jerome Phillipe Frederic
Case 3:13-cv-02175-G-BH Document 249 Filed 08/27/15       Page 2 of 2 PageID 3728


Lung and Africa Hunting, LLC will be DISMISSED sua sponte without prejudice for

failure to comply with FED. R. CIV. P. 4(m).

      SO ORDERED.


August 27, 2015.


                                        ___________________________________
                                        A. JOE FISH
                                        Senior United States District Judge




                                         -2-
